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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )        CRIMINAL ACTION NO.
     v.                            )            2:06cr71-MHT
                                   )                (WO)
BERNETTA LASHAY WILLIS             )

                                ORDER

    The    court     construes      defendant      Bernetta      Lashay

Willis’s self-styled “Motion to Vacate, Set Aside or

Correct Sentence, 28 U.S.C. § 2255 and 2244(b)(3)(A)”

(doc. no. 373) to contain (1) a motion for reduction of

sentence under the First Step Act of 2018, and (2) a

motion to amend the motion to vacate, set aside, or

correct sentence under 28 U.S.C. § 2255.

    Accordingly, the clerk of court is DIRECTED to:

    (1) amend the docket entry for doc. no. 373 in this

criminal action to describe the document as a motion

for reduction of sentence under the First Step Act of

2018, where it will be considered as such; and

    (2) docket a copy of this same document in civil

action    no.   2:19cv651-MHT      as   a   motion     to   amend       the
   Case 2:06-cr-00071-MHT-SMD Document 375 Filed 10/18/19 Page 2 of 2




motion to vacate, set aside, or correct sentence under

28 U.S.C. § 2255 pending in that civil action.

    DONE, this the 18th day of October, 2019.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
